       CASE 0:12-cr-00305-DSD-LIB                Doc. 619      Filed 12/13/24   Page 1 of 24




         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

       I HEREBY COMMUTE the total sentence of confinement that each of the following
named persons is now serving, to expire on December 22, 2024, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all of its conditions

and all other components of each respective sentence. Nothing in this grant of clemency should
be presumed to interfere with, or supersede, the Bureau of Prisons’ authority to oversee each

person’s confinement, pursuant to the terms set forth in this grant of clemency. Each person shall
remain subject to all ordinary disciplinary rules. The following persons are recipients of this
grant of clemency :

  Name                            Reg. No.                  Name                        Reg. No.
  ANTWON ABBOTT                  16383-028                  MY AGUILLARD                0545 1-095

  RLS AR ABDUL AZIZ              02438-095                  ALBERTO AGUIRRE             68408-079

  EDWARD ABELL III               00566- 138                 CHELSEY AGUIRRI             57387- 1 77

  ANTHONY ABREU-                 44903-069                  TOYOSI ALATISHE             63492-037
  MATOS
                                                            DENNIS ALBA                 89560-0 12
  FAYEZ ABU-AISH                 67402-0 1 8
                                                            BRIAN ALCORTA              44752-380
  JOSE ABUNDIZ                   1 1 828-085
                                                            MAHMOUD ALDISSI             60832-01 8
  JORGE ACEVEDO                  044 1 3 -028
                                                            ROBERT ALDRIDGE             00195 - 120
  MARK ACKERMAN                  30428-047
                                                            ANTHONY ALFARO              227 10-026
  SETH ACOSTA                    47417-177
                                                            MUHAMMAD ALI               42233-379
  FELIX ACOSTA                   78804- 198
                                                            NAGY ALI                    13500-479
  KARA ADAMS                     61718-019
                                                            ASIF ALI                    57844- 1 77
  JOHN ADAMS                     17769-029
                                                            MICHAEL ALLEN               14822-042
  LONZINE ADAMS                  39134-018
                                                            DEVORD ALLEN                05097-04 1
  DARRYL ADAMS                   3235 1-009
                                                            KRISTIE ALLEN               18933-023
  HERMAN ADAMS                   0379 1-480
                                                            BENJAMIN ALLNION            17008-029
  ADEMOLA ADEBAYO                17711-104
                                                            KAHEIM ALLUMS               78040-054
  AYODELE ADEN IRAN              78249-054
                                                            GUNIARO ALMANZA             57815-380
  PAMELA ADENUGA                 45171-177
                                                            JORGE ALONIAR-BAELLO        74 1 70-053
  SHELIN DER AGGARWAL            34768-00 1
                                                            WILLIAM ALONZO              51061-039
  MANUEL AGUILAR                 26463-009
                                                            JAMES ALTOM                 27680-045
  RAMON AGUILAR III              50500- 177
                                                            JUAN ALVAREZ                18027-097
  VINCENTER JIMENES              19899-026
                                                            CARLOS AMADOR               64899-279




                                                Page 1 of 24
    CASE 0:12-cr-00305-DSD-LIB        Doc. 619        Filed 12/13/24   Page 2 of 24



Name                    Reg. No.                 Name                         Reg. No.
FRANK AMODEO           48883-0 19                   RYAN BAIRD               15870-028

ROBERT ANDERSON        14686-076                    ULYSEE BAKER JR          56979-083

ROBERT ANDERSON        09350-02 1                   BRIAN BALLANGEE          11907-033

THOMAS ANDERSON JR     4 1 952-044               JOHN BANKS                  15023-075

MELVIN ANDERSON        32689-074                    KIMBERLY BANKS           96 1 88-020

JULIE ANDRADE          75726- 112                JEFFREY BANKS               78927-083

MARK ANDREOTTI         67620-050                    FRAENCHOT BANKS          15638-04 1

WILFREDO ANDUJAR       23432-058                 ANDRE BARBARY               97866-004

ANTONIO ESCOBAR        29230-479                 EVIZAEL BARBOSA-            76036-066
                                                 DELGADO
CHRISTOPHER
                       06975- 104
ANZALON E                                        RUBEN BARCELO-              63353-018
                                                 SEVERINO
JOSE APONTE            71 104-050
                                                 COY BARKER                  2232 1-078
CLYDE APPERSON         14058-03 1
                                                 HAROLD BARNETT              15762-033
ROY APPLEWHITE         13755-040
                                                 YESENIA BARRAGAN            80567-298
DWAYNE APPLING         12383-273
                                                 JOSE BARRERA                28336-078
ALVARO ARGUELLES       36944-479
                                                 JOSE BARRERAS               15114-028
MINEL ARIAS            85794-054
                                                 ONEIL BARRETT               57578-298
GABRIEL ARIAS          16089- 1 04
MADURO                                           PHILIP BARRY                77573-053

RICHARD ARLEDGE        16769-078                 DION BARTLETT               5 1 593-083

GENNY ARMENTA          54202- 177                KURT BARTON                 7 1 720-280

TRACY ARNOLD           52198-074                 RANIIRO BASALDUA            64458-079

ERIC ARNOLD            45771 -074                HARVEY BASS                 55769-01 8

BERNARD ARRE           04052-029                 SHALLIN BAST                22296-040

BENJAMIN ARZOLA        27539-050                 PATRICK BATES               33795-058

JAMES ASKEW III        27100-00 1                DERRICK BEALS               04 143-043

NICHOLAS AUDETTE       72060-0 1 8               CARLOS BECERRA              16447- 179

CARLOS AVANT           22833-076                 LYDIA BECK                  71137-019
ANGELA AVETISYAN       68350-112                 DONALD BECK                 29 104-057

ERICA AYALA            49030- 177                EDDIE BECKHAM               34320-058

ISMAEL AYALA           42295-0 1 8               TODD BEHRENDS               22602-047
FRANK BADILLA JR       43595-480                 ANTHONY BELL                2623 1-013

ALCIDES BAEZ           37504-004                 JEAN BENITEZ-REYES          52753-069
JACKIE BAGLEY          63477-037                 AUNDEL BENOIT               363 12-004

SANDRA BAILEY          2728 1-076                SHANNON BENTLEY             71366-018

JAMES BAILEY           05406-0 10                LARRY BENTLEY JR            24069-044




                                     Page 2 of 24
   CASE 0:12-cr-00305-DSD-LIB           Doc. 619      Filed 12/13/24   Page 3 of 24



Name                   Reg. No.                    Name                       Reg. No.

LEON BENZER           4752 1 -048                  PAUL BOWMAN               53747-074

MARC BERCOON          6608   1 -0 19               MICHAEL BOWMAN            19060-084

ROGER BERGMAN         04825- 104                   VERNON BOWSER             14524-074

CARLOS BASTARD        724 19-054                   CHRISTOPHER BOX           22026-084

AUSTIN BERTCH         14003-029                    QUINBY BOYD               30446-058

CORDARRYL BETTON      21389-043                    WILLIAM BOYLAND JR        7975 1-053

ANTONIO BEVERLY       02712- 104                   KENNETH BRADLEY           09488-02 1

TRACY BIAS            70248-06 1                   MACK BRADLEY              08073-043

DAVID BILES           40371 -074                   WILLIAM Bk4DLEY           87078-054

MICHAEL BINDAY        663 89-054                   BENJAMIN BRADLEY          50878-039

MICKEY BIRGE          1 0240-028                   JUSTIN BRANON             89595-408

DOYLE BIVENS          4003 1 -074                  DONALD BRELJE             09657-04 1

KIMBERLY BLACK-       265 18-045                   MATTHEW BREMOND           20559-006
MCCORMICK
                                                   STEVEN BREWER             2428 1-077
KEVIN BLALOCK         42597-074
                                                   TREAVOR BRIGGS            32708-009
JAMES BLANTON         50960-509
                                                   SHAMICHAEL BRIGHT         14688-035
ANIS BLEMUR           193 80- 1 04
                                                   MITCHELL BROOKS           24135-016
KEVIN BLEVINS         32128-177
                                                   ANDREA BROOKS             2860 1-380
ERIC BLOOM            44727-424
                                                   TERRICIOUS BROOKS         54557-056
JOHN BLOUNT           17880-035
                                                   SHELLE BROOKS             04027-029
KENDALL BLUE          55802-056
                                                   DONALD BROOMFIELD         61304-018
VILAWOE BOADU         76454-408
                                                   BOBBIE BROWN              40453 -424
ANDREW BOGDANOFF      6825 1 -066
                                                   ATARI BROWN               5468 1-039
ANASTASSIA            60833-0 1 8
BOGOMOLOVA                                         JERMAINE BROWN            62269-01 9

LASHAUN BOLTON        30504-057                    KEVIN BROWN               32427-0 16

AMANDA BONEL          22810-078                    JB BROWN JR               19409-026

RICARDO BONILLA-      40498-069                    EDDIE BROWN               06900-063
ROJAS
                                                   DARRYL BROWN              46329-074
CHRISTOPHER BOOTH     07502-043
                                                   ISAAC BROWN               33651-058
LISA BOOTON           30658-047
                                                   TRAMAINE BROWN            91240-053
RANDALL BOSTIC        42523-074
                                                   JAMES BROWN               31677-171
SYLVESTER BOSTON JR   5022 1 -039
                                                   TERESA BROWN              22766-045
ROBERT BOSTON         33525-058
                                                   JONATHAN BRUNIBACK        22506-03 1
ALICIA BOULDIN        58421 - 177
                                                   TORRIE BRUNIFIELD         32473-034
AUDRA BOWDEN          50705-1 77
                                                   ROCKY BRUMMETT            12354-032
MELVIN BOWEN          19666-078




                                       Page 3 of 24
   CASE 0:12-cr-00305-DSD-LIB           Doc. 619      Filed 12/13/24   Page 4 of 24



Name                     Reg. No.                  Name                       Reg. No.

MICHAEL BRUNER          17984-032                  JAMES CARLSON             16784-04 1

MICHAEL BRYANT          54559-004                  ALLEN CARNES              02783-061

GREGORY BUCK            26568-081                  TERRELL CARNEY            33927-034

TAMATHA BUCKHOLT        63353-280                  LUSHAWN CAROLINA          58659-083

KEVIN BUI               26874-0 1 7                KELLI CARON               13604-059

DENNIS BUNCH            78044-083                  HORRIS CARPENTER          27422-076

JOHN BURGESS            59495-177                  PEDRO CARRASCO JR         07532-046

JAMES BURKHART          15426-028                  CARMELO                   53078-069
                                                   CARRASQUILLO-LOPEZ
PAUL BURKS              29723-058
                                                   JIMMY CARRASQUILLO-       33484-069
ALEKSANDR BURMAN        50234-054                  RODRIGUEZ

VICTOR BURNETT          54977-039                  JOSE CARRILLO             62730-080

ANTHONY BURNETT         16708-028                  CLIFFORD CARROLL          13905- 104

PIERRE BU RNETT         15146-028                  DEWEY CARROLL             50232-037

LAMEL BURNS             42334-424                  RASHAUN CARTER            21884-084

SIRRICO BURNSIDE        24037- 171                 ERIK CARTER               5 1330-039


NATHANIEL BURRELL Ill   7 143 1 -066               MAURICE CARTER            97740-020

REBECCA BURRESS         30393-074                  JOSEPH CARTER             16691 -075

KERI BURROUGHS          14152-010                  RANDY CARVER              53579-074

CRYSTAL BUSBY-          08770-046                  JAMES CARVER              25084-014
TETZLAFF
                                                   MELISSA CASEY             48834-074
ANTONIO BUSSIE          66847-01 9
                                                   SHARLENE CASH             33 128-064
RUBEN BUSTOS            47273-380
                                                   NORMA CASILLAS            52244- 179
DANNY BUTLER            19107-033
                                                   VLADIMIR CASTAN EDA       62039-0 1 8
SHAWN BUTLER            83619-083
                                                   ROLAND CASTELLANOS        62970-0 19
JOHN BUTLER JR          20040-01 8
                                                   RONALD CASTILLE JR        63882-280
MICHAEL BYERS           34932-058
                                                   DANNY CASTILLO            26 164-0 14
ERNESTO CABAN AS-       59340-408
TORRES                                             NELVING CASTRO            6955 1-066

YERITHZA CABAUATAN      64824-298                  DESHON CATCHINGS          47363-039

LYNN CADY               55388-380                  JOSE MORA CATES           17496-028

BRIAN CALLAHAN          8261 8-053                 DWELLY CAULEY             69830-004

THOMAS CAMBIANO         28886-03 1                 SEUI CAVAN                08947-030

PIO CAMPOS              093 1 4-089                PEDRO CAVAZOS JR          52624-080

ROSETTA CANN ATA        62780-0 1 8                OSVALDO CEBALLO           01241 - 104

XAVIER CARDONA          36123-380                  RAFAEL CEBALLOS-          06988-028
                                                   CASTILLO
LUIS CARIBE-GARCIA      16113-069




                                       Page 4 of 24
     CASE 0:12-cr-00305-DSD-LIB           Doc. 619      Filed 12/13/24   Page 5 of 24




Name                     Reg. No.                    Name                       Reg. No.

DOMINGO CEDANO-         59 126- 177                  NICHOLAS COLLINS          26482-034
MARTINEZ
                                                     MARLON COLLINS            05871 -041
ISRAEL CEDENO-          66258-050
MARTINEZ                                             RUSSELL COLLINS           05959-032
ROMAN CHAIDEZ-          1 7 137-424                  LEON COMBS                079 1 7-032
ALVAREZ
                                                     MICHAEL CONAHAN            15009-067
AMANDA CHAMBERLAIN      54101-177
                                                     BRUCE CONANT              25387-045
SHAUNTEL CHAMBERS       1 7381-027

                                                     HUN4BERTO                 5041 1-069
KAWANA CHAMPION         7 102 1 -019
                                                     CONCEPCI ON-
NIGEL CHANDLER          32455-177                    ANDRADES
                                                     KARIN CONDON              08979-059
JAMES CHANEY            1 7746-032

                                                     RAYMOND CONLEY            11368-035
DONNIE   CHASTAIN       6046   1 -0 19

                                                     NOEL CONTRERAS            891 87-008
LIZA CHAVERA            84866-380
                                                     VANESSA COOPER            58397-0 1 8
JOSE CHAVEZ             07920-027
                                                     DEWAYNE COOPER            249 19-034
CARLOS CHAVEZ-          08285-063
LOZANO                                               CHERIE COPELAND           34593-045
JUAN CHAVIRA-           26392-078                    BRYAN COPELAND            55708-018
GUERRERO
MARCUS CISNEROS         5525 1- 1 77                 JOSEPH COPELAND           16683-089

                                                     CHAYAN EE CORCINO-        52234-069
XAVIER CISNEROS         87026-280
                                                     SERRANO
EMMA CLARK              27724-078
                                                     MATTHEW CORDERO           09956-087
BERNARD CLARK           2771 5- 171
                                                     RAFAEL CORDERO            68437-066
ROBERT CLARK JR         10732-078
                                                     JARVOR COSSE              37473-034
NEIL CLARK              06923-032
                                                     JACORY COULTER            28564-078
KASIMU CLARK            49960-066                    CLARENCE                  58238-380
GEORGE CLARKE           24708-052                    COUNTERMAN
                                                     HENDRICK COUSAR           23407- 171
NORMA    CLAUDIO        0 1722- 138

                                                     DONALD COX JR             49022- 1 77
TIMOTHY CLINE           08718-062
                                                     GARRY CRAIGHEAD           62952-380
BRADLEY CLOUGH          123 1 8-028
                                                     ZAN CRANDALL JR           17023-003
MARIAN CLUFF            92 132-379
                                                     WILLIAM CRANE             3 1603-00   1
MIKE COFFELT            42779-074
                                                     QUANTEZ CRIBBS            10735-029
GAYBBRELL COFIELD       53224-056
                                                     RACHEL CROWE              14291 -509
CLARENCE COHEN          43732-039
                                                     KACEY CROXTON             54049- 1 77
DALE COLBERT            63077- 1 12
                                                     RITA CRUN DWELL           44540-424
KEVIN COLEMAN           30836-076
                                                     RICHARD CRUZ              700 12-054
KEITH COLEMAN           09587-02 1
                                                     ANNA CUARTAS              15923- 104
VLADIMIR COLLAZO- 13775-069
FLORI DO                                             CHAD CURRY                00527- 120




                                         Page 5 of 24
   CASE 0:12-cr-00305-DSD-LIB             Doc. 619      Filed 12/13/24   Page 6 of 24



Name                   Reg. No.                      Name                       Reg. No.

JONATHAN CURSHEN      90293-054                      RAFAEL DIAZ-ALICEA        63755-018

SALAH DADO            458 16-039                     ALAN DIAZ-FELICIANO       50584-069

COURTNEY DAILY        25700-075                      JOSE DIAZ-MEDINA          16909-069

AUGUSTIN DALUSMA      71080-0 1 8                    JERRY DICE                18137-026

AARON DAN             94757-022                      CLINTON DICKERSON         101 13-078

MELVIN DANIELS        32900-      17 1               EARLIE DICKERSON          08369-380

ETHEL DANIELS         660 14-0 1 9                   JON DIRK DICKERSON        2492 1 -045

JAMIE DARBY           16934-002                      WALTER DIGGLES            25054-078

VIKRAM DATTA          64542-054                      EDWARD DINIARIA           16900- 1 04

PAUL DAUGERDAS        62444-054                      NATHANIEL DIXSON          16028-028

KENDRICK DAVENPORT    14089- 179                     KRISANDREA DOBBS          56495- 177

ARNULFO DAVILA        32490- 177                     JUAN DOM]NGUEZ            76727-004

ERIC DAVIS            3 1339-044                     FELICIA DONALD            94272-083

AMANDA DAVIS          522 1 7-074                    LAMON DONNELL             16879-078

MICHAEL DAVIS         55247-060                      RONALD DOTSON             52832-074

MARTEE DAVIS          3 1634-00      1               DARREN DOUGLAS            1692 1 -047

LISA DAVIS            14202-029                      RICK DOWDEN               09 1 30-028

KOBIE DAVIS           17745-026                      JACK DOWELL               05225-0 1 7

PIERRE DAWSON         20863 -424                     WILLIAM DOWNS             11 865-033

FEDERICO DE LA CRUZ   08369-379                      ROBERTA DRAHEIM           11325-090

MERCEDES DE LA PAZ    65423-298                      MARC DREIER               70595-054

DAVID DE LOS SANTOS   498 1 7- 177                   GORDON DRIVER             47270-048

NICHOLAS DEANGELIS    7 169 1 -004                   JOHN DRULLINGER JR        50200- 1 77

CHRISTINE DELACRUZ    20753-006                      PHOUMANO                  27955-055
                                                     DUANGTAVILAY
GERARDO DELBOSQUE     16494-078
                                                     JOHN DUBOR                28044-479
OSCAR DELGADILLO      88249-479
                                                     CORRIE DUDLEY             28056-045
VINCENT DELGADO       27854-039
                                                     JADE DUGAN                17343-273
RODNEY DELOACH        048 16-06 1
                                                     CHAD DUNAWAY              15039-078
DAVID DEN4ATHEWS      11256-1 12
                                                     BRUCE DUNKELBURGER        97329-020
DONNA DEMPS           66889-018
                                                     TOMMY DUONG               21598-017
GUY DERILUS           94425-004
                                                     BARBARA DUPREY            69394-0 1 8
ANITA DESORMEAUX      17404-035                      RIVERA
EDUARDO DIAZ          3 130 1 -045                   RANDY DURAN               55401-177

RICARDO DIAZ          791 73-479                     WILLIAM DYER              52295-074

HECTOR DIAZ JR        04822-508                      GERARD EASILEY            71 989-279




                                         Page 6 of 24
    CASE 0:12-cr-00305-DSD-LIB           Doc. 619     Filed 12/13/24      Page 7 of 24



Name                   Reg. No.                     Name                         Reg. No.

NIELODIE ECKLAND       52863-509                    JOHANNY FELICIANO-          50771 -069
                                                    GONZALEZ
ROBERT EDWARDS         55683-018
                                                    FRANCISCO FELIX             65558-208
VERNON EDWARDS         28300- 171
                                                    HERIBERTO FELIX RUIZ        3 1715-009
BENJAMIN EDWARDS SR    3 1320-034
                                                    MELVIN FELIZ                163 14-054
VICTOR EHLERS          25357-052
                                                    SELICA FENDER               16834-059
GARY EISEN4AN          13633-059
                                                    BRYAN FERRER-               27465-055
MATTHEW ELDER          1704 1-408                   VAZQU EZ
VIOLET ELDRIDGE        57294-0 19                   TERI FIEDLER                46285-044

MICHAEL ELLIOTT JR     18076-030                    STEPHEN FIELDS              80657-083

RYAN ELLIS             07971 -036                   JESUS FIGUEROA              01 197-138

DARIEN ELLSWORTH-      7 1 967-066                  ROLANDO FIGUEROA            62539-01 8
DAWAY
                                                    DANIEL FILLERUP             25270-052
RUDOLPH ENGEL          08084-059
                                                    DERRICK FINCHER             20 128-085
JOSEPH ENOX            41328- 177
                                                    STEVEN FINKLER              39327-053
ERIC EPSTEIN           16513- 104
                                                    NORRIS FISHER               41251-177
JUSTIN ERWIN           26283-058
                                                    JENNA FITZHUGH-             36732-034
CHRISTOPHER ERWIN      63427-050                    THOMAS
CINTHIA ESCOBAR-       50975-069                    TIMOTHY FITZPATRICK         24140-055
RAMOS
                                                    FABIAN FLEIFEL              57575-018
ALFONSO ESPARZA        75902-097
                                                    TERRY FLENORY               32454-044
HAROLD ESQUILIN-       49768-069
MON TAN EZ                                          PATRICK FLORANG             09860-029

EDUARDO ESTERAS-       47753-069                    GUSTAVO    FLORES           91742-05 1
ROSADO
                                                    MARGARITO    FLORES         41922-080
MICHELLE ESTEVEZ       55439-066
                                                    SHIRLEY FLORES              83175- 179
ENRIQUE ESTRADA        76531-   1 12
                                                    ALEXIS FONTAN EZ            66943-01 8
DANIEL EVANS           43012-044                    Nl EVES
RONALD EVANS SR        3 1084-0 18                  DAMON FORBES                49337-019

TERRY EVELAND          15669-028                    WILLIAM FORD                11612-002

BRENDA EVERSOLE        16161-032                    KEITH FORD                  67064-01 8

DAITWAUN FAIR          25880-052                    NIGEL FORDE                 91 548-083

EDWARD FARLEY          61330-019                    MARSHALL FOSKEY             94 1 69-020

DAVID FARNSWORTH       16241 -059                   BRIAN FOSTER                59970-0 19

AVIOTN FARR            3 1852-009                   NATHAN FOSTER               17583-002

ANTWONE FARRAL         13864-028                    JOSHUA FOUNTAIN             05960-01 7

RONALD FAULK JR        43628-054                    MELISSA FOX                 20767-045

ROOSEVELT FAZ          85345-079                    DAVID FRANCIS               38679-068




                                       Page 7 of 24
   CASE 0:12-cr-00305-DSD-LIB        Doc. 619      Filed 12/13/24   Page 8 of 24



Name                  Reg. No.                  Name                       Reg. No.

MONICA FRAZEE         68730-298                 COURTLAND GETTEL          60857-298

DEXTER FRAZIER        71019-019                 ADAM GETTS                17474-027

BOBBY FROMAN          38833-177                 DENNIS GIBBONS JR         47362-074

JERRY FRUIT           535 17-054                LC GILLS JR               30067-076

JAMES FRY             15927-04 1                GEOFFREY GISH             62 1 52-0 1 9

PEGGY FULFORD         3700 1-034                BYRON GLOVER              274 13-034

KATHY FUNTILA         06000- 122                ALEXIO GOBERN             15002-057

CALVIN FURLOW         60885-0 19                JAJUAN GODSEY             4396 1-060

ANTONIO GADDIST       28288- 171                TISHA GOFF                54112-074

KRYSTA GAINES         54427- 1 77               CARL GOLDEN               04099-095

WILLIAM GALLION       11492-032                 WILLIAM GOLDSTEIN         66083-0 19

FREDERICK GANG        72630-054                 JAMIE GOLLADAY            71 142-097

DANIELS GARCES        28327-078                 SOTERO GOMEZ              91525-054

REYNALDO GARCIA       29332-479                 LIDERRICK GOMEZ           33532- 171

JACQUELINE GARCIA     12667-09 1                BRYAN GOMEZ               70388-01 8
                                                NEVAREZ
GABRIEL GARCIA        28966- 1 80
                                                RANDY GOMILLA             14460-025
AMBAR GARCIA          571 52-380
                                                DAN EL GONZALEZ           49687-069
MANUEL GARCIA         18857-030
ZUNIGA                                          ISAAC GONZALEZ            56372- 1 77

DENNIS GARCIA-        56897- 1 77               JOSE GONZALEZ             00727- 1 38
CATALAN
                                                MARTHA GONZALEZ           56710- 177
NEYDIE GARCIA-PEREZ   20096-479
                                                MARCOS GONZALEZ           8661 7-054
NOEL GARCIA-RIVERA    23 1 64-069
                                                NORMA GONZALEZ            94484-380
MERRILL GARDNER       13729-046
                                                DAVID GONZALEZ-           35448-069
JODY GARDNER          12401 - 104               PEREZ
RAMON GARIBAY         42552-280                 ROBERT GOOD               32794-068

VICKI GARLAND         65459- 112                STEVEN GOODMAN            27355-009

RICHARD GARRETT       43830-112                 WILLIAM GOODWILL          141 16-026

BABY GARRISON         22813-02 1                CLARENCE GOODWIN          42 1 29-074

TREMAINE GARRISON     67131-054                 CLINTON GOSWICK           33728-177

KEVIN GARVIN          63886-019                 GEORGE GRACE SR           05652-095

JAMES GARY            08922-379                 DAMON GRAHAM              13787-014

HUMBERTO GARZA        80485-079                 DANIELLE GRAVES           17929-030

JEREMY GASAWAY        109 10-028                MARCEL GRAVES             20408-043

AMBER GAUCH           55287- 177                LARRY GRAVES              35377-408

ALFRED GEREBIZZA      63 1 88-019               ANDREA GRAY               1576 1-076




                                    Page 8 of 24
      CASE 0:12-cr-00305-DSD-LIB          Doc. 619     Filed 12/13/24   Page 9 of 24




Name                      Reg. No.                   Name                      Reg. No.
SHERRY GRAY              05057-088                   BRANDON HARDERS          17362-029

JOHN GRAY                33954-058                   DAVID HARDY              14486-078

SHAWN GREEN              31359- 171                  CYNTHIA HARLAN           63290-0 1 8

HENRY GREEN JR           42575-074                   MELISSA HARLESS          20400-084
                                                     CHRISTOPHER HARLESS      68123 -280
JAMIE GREEN              262 1 3-078
                                                     DANNY HARMON             10089-028
DAVID GREENBERG          59059-053
                                                     JOSHUA HARNED            32207-001
CHARLES GREESON          60784-0 1 9

                         05892-078                   SANDRA HARO              13202-479
RODRICK GRIMES
                                                     JAMES HARPER             33908- 171
MICHAEL GROVE            0781 1-002
                                                     CHARLES HARRIS           42637-379
JAMES GUERRA             36611-001

                         25713-479                   DONTAI HARRIS            70182-018
CLOYD GUILLORY
                                                     VICTORIA HARRIS          09002-025
TREMAYNE GUIN            64374-060
                                                     BOBBY HARRIS             46169-177
JEFFREY GUNSELMAN        01056-380
                                                     JIMMY HARTLEY            06 1 48-028
SAVANNAH GUTHERY         3 1479-064
                                                     MALCOLM HARTZOG          0239 1 -043
FRANK GUTIERREZ          07626-05 1
                                                     LAMONT HARVEY            5 1 237-039
SANTOS GUTIERREZ         601 07-097
                                                     JOHNNY HATCHER           31418-074
MARC GUYTON              3220 1 -034
                                                     LARRY HAWKINS            169 1 8-077
ERIC GUZMAN              72056-050
                                                     WOODROW HAYES            12732-035
LEGUSTER HACKWORTH       34685-001
111                                                  JAMAL HAYNES             25575-017
ANDREW HAIR              54106-056
                                                     WILLIAM HEARN            17282-003
DAMON HAIRSTON           1 7753 -027
                                                     STEVEN HEBERT            30953-034
JAMES HALD               1 7 1 70-047
                                                     ROBERTO HECKSCHER        14400-111
HENRY HALL               35370-0 1 6
                                                     KATHRYN HELLEN           2 1 895-040
KRIS HALL                08407-063
                                                     ROBERT HELM              23 1 80-047
HARRISON HALL            47294-424
                                                     SHAQUAN HEMINGWAY        0281 5-509
JANET HALLAHAN           11 744-026
                                                     JEROME HENNESSEY         21 756-04 1
FRANZ HAMBRICK           16770- 1 79
                                                     JOHN HENOUD              25 198-083
FRANK HAMILTON           34162-171
                                                     WENDI HENRY              43511-074
LESLIE HAMILTON          07068-089
                                                     KYLE HENSON              20303-076
BUCK HAMMERS             08202-063
                                                     MARCELA HEREDIA          76424-097
JOHN HANCOCK             1434 1 -078
                                                     MICHAEL HERMAN           75 169-067
ASHLEY HANNA             28294-078                   ERNEST HERNANDEZ         32005-479
HUNTER HANSON            17369-059
                                                     PAUL HERNANDEZ SR        46860- 1 77
PETER HANSON             03640-04 1
                                                     SIRI A HERNANDEZ         14847- 1 04
AARON HARBOR             49351-177




                                        Page 9 of 24
   CASE 0:12-cr-00305-DSD-LIB          Doc. 619    Filed 12/13/24    Page 10 of 24



Name                    Reg. No.                  Name                      Reg. No.

JOHNNY HERNANDEZ       52595-280                  WAYNE HOLROYD             10096-007

MARCOS HERNANDEZ       07452-078                  DAVID HOLT                50520- 1 77

LEONARD HERNANDEZ      91393-380                  TIMOTHY HOLT              52097-074

GUILLERMO              16555-078                  JON HOLT                  12 1 72-04   1
HERNANDEZ
                                                  JACLYN HOOKER             48726- 1 77
RICK HERRERA           59037- 177
                                                  RALPH HOOPER              77365-054
PEDRO HERRERA          5 1600- 177
                                                  MICHAEL HORN              28838- 177
NELLY HERRERA          47398-008
                                                  WILLIAM HORTON JR         66940-479
ALEXANDER H EYING      17863-04 1
                                                  JOHN HOSKINS              17570-032
RAYMOND HIBBERT        70563-066
                                                  GEORGE HOUSER             60799-0 19
JERRY HICKS            27657-078
                                                  GEORGE HOUSTON            16032-0 1 8
JAMES HILL             06343-088
                                                  JAMES HOWARD III          04067-0 1 7
BRANDON HILL           52282-074
                                                  FRED HOWARD               07757-089
JOHNNIE HILL           83 1 87-083
                                                  GILBERT HOWARD            12704-032
AMY HILL               68340-479
                                                  SHELDON HOWARD            92565-083
PHILLIP HILL           56433-01 9
                                                  STEPHAN HOWARD            169 1 2-027

TIMOTHY HILLIARD       43262-424
                                                  MICHEL HUARTE             824 1 1-004
TERRANCE HILTON        09034-095                  MARC HUBBARD              11465-058
TED HILTON SR          33634-045
                                                  CHARLES HUBBARD           69949-0 19
WILLIAM HILTS          24063-052
                                                  KENNETH HUBBARD           101 19-043
SIDNEY HINES           11120-030
                                                  MARVIN HUDGINS            47239-039
CLAUDIA HIRMER         07035-0 1 7
                                                  SANCHEZ HUDSON            23300-058
MARK HOBBY             4944 1-01 9
                                                  RANDY HUERTA              204 1 8-380
TERENCE HODGE          32479-   17 1
                                                  JAMES HUFF                35783-044
DERRICK HODGE          42709-074
                                                  WILLIAM HUFFMAN           49016- 177
THOMAS HOEY JR         92 147-054
                                                  DARWIN HUGGANS            345 1 3-044
RICO HOGAN             48458-044                  TORREAN HUGHLEY           29902-03 1
STEPHANIE HOLBROOK     17997-029
                                                  RAVON HUMPHREY            51358-039
BRIAN HOLLAND          57325-177
                                                  TINA HUNT                 17225-035
EDWARD HOLLINIAN       79670-054                                            39141-177
                                                  ALEXIS HUNTER
MARCUS HOLLIMAN        65049-0 1 9
                                                  CHRISTOPHER HUNTER        44200-061
BERNARD HOLLINGER JR   95775-020
                                                  BOBBY HUNTER              16007-028
CHARLES HOLLIS JR      978 18-020
                                                                            22362-04 1
                                                  MOHAMED HUSSEIN
SAMUEL HOLLOMAN        30964-057
                                                  MATTHEW HUTCHESON         14620-023
LAWRENCE HOLMAN        28077-01 8
                                                  NORMA IBARRA CANTU        94793-380
KEITH HOLMES           00224-509




                                   Page 10 of 24
   CASE 0:12-cr-00305-DSD-LIB          Doc. 619     Filed 12/13/24    Page 11 of 24



Name                    Reg. No.                  Name                       Reg. No.

DANA ICE                363 14-180                WALTER JOHNS               37369-019

JESSICA IDLETT          56827- 177                PATRICK JOHNS              20366-043

JESUS IGLESIAS          91860-280                 COURTNEY JOHNSON           72960-0 ] 9

GODREY ILONZO           63976-019                 DORIAN JOHNSON             43811-074

LESLIE INMAN            85901-379                 CORDELL JOHNSON            19770-035

REGINALD IRBY           69457-066                 TIMMY JOHNSON              35692-044

CARLOS ISBY             24743-009                 TIMOTHY JOHNSON JR         14568-479

AMER JABIR              17294-424                 RONALD JOHNSON             2076 1-04 1

REGGIE JACKSON          45833-039                 MICHAEL JOHNSON            13861 -028

HOWARD JACKSON          54870-039                 GEORGE JOHNSON             78855-083

CHARLES JACKSON         29263-009                 DEMETRIS JOHNSON           19482-033

TOMMY JACKSON           2 1 198-017               DAJ AN AE JOHNSON          21347-043

DANNY JACKSON           39094-068                 KELLY JOHNSON              60777-066

FREDERICK JACKSON SR    47796-039                 CALVIN JOHNSON             61 977-066

TIMOTHY JACKSON         20364-043                 AARON JOHNSON              66942-066

THERESA JACKSON         08478-045                 WILLIE JOHNSON             12498-002

CHRISTOPHER JACKSON     47079-074                 MONYET JOHNSON             20376-043

DAVID JACKSON           08547-068                 JAMES JOHNSON              52 164-074

IKEISHA JACOBS          59274-056                 ADAM JOINER                78587- 112

JOSEPH DEE JACOBS       27752- 171                JUSTIN JONES               29 162- 179

MICHAEL JACOBS          65325-056                 MARCOS JONES               18114-043


RAYMOND JACQUES III     17726-o02                 NATHANIEL JONES            437 1 8-037

CELSO JAIMES-MEDERC) 4889 1- 177                  TRAVELL JONES              18500-   104


DEVINCIO JAMES          27775-055                 CURTIS JONES               55887-019

KENNETH JAMES           1   0402-002              MATTHEW JONES              24662-083

TAMMY JANICEK           54253- 177                RONALD JONES               25678-044

MARVIN JANKEE           27728-058                 STEVEN JONES               30269-048

LINDA JARAMILLO         0602 1-08 1               ANTWAN JONES               40833-424

JUAN JASSO              59988-018                 RAYMOND   JONES            1 168 1-067


ROBERT JAYNES JR        12376-028                 BOBBY JUSTICE              097 1 5-032

EDWARD JEFFERSON        20644-045                 STEVIE JUSTUS              15652-084

COLIN JENKINS           71907-279                 CARL KAZANOWSKI            04953- 122

SHARON JESSEE           53734-074                 EMMANUEL KAZEEM            76888-065

MIGUEL JIMENEZ          18429- 180                MEAGAN KEEL                035 18-480

MORRIS JOHNS            72464-280                 BILLY KEEN                 1 8754-084




                                   Page 11 of 24
   CASE 0:12-cr-00305-DSD-LIB            Doc. 619    Filed 12/13/24    Page 12 of 24



Name                    Reg. No.                    Name                      Reg. No.

DEANGELO KEITH         63306-037                    KENDRICK LATHAM           05325-025

ERIC KELLEMS           1 0236-025                   ANDREW LAVIGNE            26043-052

BARBARA KELLEY         1 673 1 -028                 MARTIN LAWRENCE           06277-029

SAMUEL KELLY           03219-112                    STEPHANIE LAZA            54307- 1 77

JACK KELLY             0448 t -0 1 7                ANTHONY LE                17627-003

JEROME KELLY           30467-068                    HECTOR LEDESN4A-          53542-069
                                                    CARMONA
DARRON KENNEDY         27994-078
                                                    RODOLFO LEDEZM A-         60548- 1 79
DAVID KENNEY           065 1 3-040                  HERRERA

BOBBY KHABEER          26500-009                    MARLON LEE                06645-068

ANGELA KILPATRICK      16777-003                    JOVON LEE                 64333-037

ISSAC KING             16744- 1 04                  NICOLE LEEDY              4989     1- 177


RODNEY KING            03025-029                    MIGUEL LEGARDA            08707-027
                                                    URRUTIA
MATHEW KINNEER         18282-030
                                                    MICHAEL LENTSCH           41789-044
PERETZ KLEIN           86086-054
                                                    JOSEPH LEONARD            56345-056
DAVID KLINE            2 1 297-04    1
                                                    SANTO LEONE               27 1 52-379
RICHARD KNEE SR        18153-026
                                                    NICOLE LESCARBEAU         01164-138
DELORES KNIGHT         6 1 056-060
                                                    DAVID LEWALSKI            64 12 1-054

DARYL KNOTTS           t 5336-509
                                                    LISA LEWIS                12954-089
MATTHEW KOLODESH       67829-066
                                                    MARTIN LEWIS              13406-047
ANTHONY KOON           5 1 666-424
                                                    TORRY LEWIS               28825-050
CYNTHIA KOONS          11336-029
                                                    PHIL LEWIS                22737-078
JULIE KRONHAUS         67738-0 1 8
                                                    JAMES LEWIS JR            16240- 1 79
MARK KUHRT             99 1 40- 1 79
                                                    DAVID LEWISBEY            45353-424
JACIE KYGER            16921 -084
                                                    JESSE LINARES             06009-027
SARKIS LABACHYAN       29591 -047
                                                    TIMOTHY LINDSEY           15723-077
DONALD LAGUARDIA       87596-054
                                                    LEE LINDSEY               28028-     17 1

CHRISTOPHER LAMAR      63731 -019
                                                    ARTIS LISBON              6 1947-01 9
KESHIA LANIER          15355-002
                                                    ANDRE LLOMPART-           49548-069
AMBER LANPHEAR         17503-046                    FILARDI

JOSE LANTIGUA          29934-058                    JAMES LLOYD               60995-112

JERONIMO LARA-         60294-01 8
                                                    ALEX LOCKLEAR             56573-056
VAZQU EZ                                            GREGORY LOLES             18551-014
RONNIE LARKINS         09781 -033
                                                    KATHY LOPEZ               72202-01 8
GEORGE LARSEN          7289 1 -097
                                                    DALIA LOPEZ               28 144-479
CLAUDIS LASSITER       42543-037
                                                    GILBERT LOPEZ JR          99141- 179
GIOVANNI LATERRA       19482- 1 04




                                     Page 12 of 24
   CASE 0:12-cr-00305-DSD-LIB          Doc. 619       Filed 12/13/24   Page 13 of 24



Name                    Reg. No.                  Name                         Reg. No.

ROGELIO LOPEZ-         69633-066                  MARCOS MARTINEZ             14653-002
BATISTA
                                                  XAVIER MARTINEZ             76536-380
ALEXANDER LOPEZ-       49549-069
MON TAN EZ                                        JOSE D MARTINEZ             52574-054
FRANCISCO LOPEZ-       63246-050                  WILLIAM MARTINEZ            27147-0 16
N EG RON
                                                  RAMIRO MARTINEZ JR          09 167-479
CARLOS LOPEZ-ORRI A    50602-069
                                                  ALFONSO MARTINEZ-           46754-008
BLIA LOR               16850-089
                                                  HERNANDEZ
CHRISTOPHER LORICK     57162-177                  CARLOS MATEO                67609-054

ANTHONY LOUIS          48400-0 1 9                MAGGIE MATLOCK              1435 1 -025

NESLY LOUTE            62888-0 1 8                BRENT MAURSTAD              13076-059

ELAINE LOVETT          49530-039                  STEPHEN MAYES               32672H074

GEORGE LOWMASTER       32899-068                  CLARK MCALPIN               36962-034

OMAR LOZA              09168-027                  RONDALE MCCANN              16276-032

ROBERT LUSTYIK JR      9 1 91 2-054               MICHAEL MCCOY               32480- 1 77

ELIJAH MACK            65368-037                  ALFONZA MCCOY               55563-056

ALONZO MACON JR        14323-078                  WALLACE MCCREE III          08752-002

ROSALINA MADRIGALES    11 938-308                 RICKEY MCCURRY              1806 1 -074

SERAFIN NIAGALLON      70055-097                  ALEX MCDOWELL               17079-043

DON MAIGARI            65 1 16-060                GLADSTONE MCDOWELL          12204-03 1

SILOMIGA MALAE         88956-022                  WILLIAM    MCGEE            29299- 1 79
JOSE MALDON ADO-       49404-069                  MARDELL MCGEE               3 1 023-044
VILLAFAN E
                                                  TIMOTHY MCGINN              19470-052
DANIEL MALEY           1529 1 -032
                                                  JUSTIN MCGINNIS             90850-083
AHMAD MANN             263 1 9-050
                                                  BRENDA MCGINNIS             758 16-097
STEPHEN M ANNESS       48609-074
                                                  TIMOTHY MCINTOSH            70995-0 1 8
MARIO MAREZ            80440-279
                                                  MICHAEL MCINTOSH            07958-029
RICKY MARIANO          15955-04 1
                                                  LARRY MCKAY                 10771 - 173
KATHRYN MARKLE         55921 - 177
                                                  GREGORY MCKNIGHT            46755-039
CHRISTY MARSHALL       54366-074
                                                  BRIAN MCKYE                 26802-064
ANDRAY MARTIN          0960 1 -04 1
                                                  MATTHEW MCMANUS             68250-066
LISA MARTIN            15886-028
                                                  DAVID MCMASTER              11   853-059
HERBERT MARTIN         33656-057
                                                  PATRELLE MCNAIR             20907-043
GARRY MARTIN           26238-01 8
                                                  TORRANZA MCNEAL             00868- 1 20
KEITH MARTIN           95629-280
                                                  NIARLAN MCRAE               14632-040
CHARLIE MARTIN         03452-043
                                                  JAMES MCREYNOLDS            09820-003
GERARDO MARTINEZ       44 1 79-380
                                                  GINA MEDINA                 03015-093




                                      Page 13 of 24
   CASE 0:12-cr-00305-DSD-LIB         Doc. 619       Filed 12/13/24   Page 14 of 24



Name                    Reg. No.                 Name                         Reg. No.

WILLIAM MEDLEY         39650-044                 JAMES MOON                  15485-022

JASON MEDLYN           570 1 5-056               MEGAN MOORE                 53369-074

TONY MEEKS             44256-074                 JONAIR MOORE                36376-013

HERZEL MEIRI           91160-054                 JAMES MOORE                 19644-009

RICHARD MELOCCARO      2 1683-047                BRIAN MOORE                 10903-028

ROLANDO NIENCHACA      87 199-280                JOE MOORER                  58542-004

MINERVA MENDEZ         48351 - 177               SAMANTHA MOORMAN            28087-078

JESSE MENDOZA          05890-041                 DANNY MORA                  17852-280

ELIZABETH MENDOZA      96954-079                 CHRISTIAN MORALES           15498-028

ALEJANDRO MENDOZA      066 15-033                FRANK MORALES               46352- 1 77
JIMENEZ
                                                 ERNESTO MORALES-            39270-069
JEFFERY MICHELLI       27705-034                 CASTRO
MICHAEL MIKESELL       1 1 834-029               GARY MORELAND               20283-086

AMANDA MILBOURN        46327-044                 SABRENA MORGAN              26986-045

SEYMOUR MILES          28370-055                 RODRIGUEZ MORGAN            63223-037

HARRY MILES            17768- 112                SONIA MORGAN                38103-068

GEORGE MILLER          3 1 622-076               ASHLEY MORRIS               523 1 6-074

STACY MILLER           42470-074                 NATHANIEL MORRIS            27603-045

APRIL MILLER           23761-171                 GLADSTONE MORRISON          47993- 177

DAISY MILLER           00850- 1 04               JACQUELINE MORRISON         47995- 177

JERRY MILLER           15 165-043                RUBIN MORROW                75859-112

JACQUELINE MILLS       289 1 8-009               RICHARD MOSELEY             3 1 267-045

GEARY MILLS            16878-078                 MICHAEL MOSES               82384- 1 98

ROBERT MINOR           04582-043                 PHILISS MOSHER              72448-097

MICHAEL MINOR          31389-034                 EDWARD MOSKOP               09 1 59-025

SCOTT MISERENDINO SR   84246-083                 DANNIE MOSLEY               186 1 9-033

RUBEN MITCHELL         10954-023                 DOUGLAS MOSS                00806- 1 20

TOBIAS MITCHELL        1 1573-039                KRISHNA MOTE                68377-067

WILLIAM MOATES JR      14264-0 1 0               TAMER MOUMEN                90928-083

MICHELLE MOBLEY        49753- 177                MATTHEW MOWERY              269 1 7-05 1

MICHAELA MONCRIEF      57905- 1 77               WALTER MUHAMMAD             76406- 112

DANIEL MONSANTO        77708-054                 ALICIA NIURFIELD            57381- 177
LOPEZ
                                                 MICHAEL MURPHY              15782-424
JUAN MONTALVO          15669-479
                                                 TIMOTHY MURPHY              43267- 1 77
ANDRE MOODY            09230-028
                                                 JOHN MURPHY-                37950-069
MARCUS MOODY           204 13 -043               CORDERO




                                     Page 14 of 24
   CASE 0:12-cr-00305-DSD-LIB          Doc. 619       Filed 12/13/24   Page 15 of 24



Name                    Reg. No.                  Name                         Reg. No.

DONALD MYERS           09 1 39-028                UCHECHI OHANAKA             13320- 1 79

RHONDA MYRICK          2 183 1-032                PATRICK OKROI               17044-273

MIYOSHIA NANCE         39117-177                  MASON OLSON                 17204-273

ARTURO NATERA          7 1460-080                 CHRISTOPHER OMIGIE          66007-01 9

COLIN NATHANSON        29308-112                  RALPH O’NEAL III            1 8792-075


GUILLERMO              61801-112                  CHARLES O'NEIL              6 1036-004
NAVARRETE JR
                                                  JOSE ORELLANA               91380-083
YAN41L NAVEDO-         36027-069                  MONTALVO
RAMIREZ
                                                  FELIX ORTIZ-                50607-069
CARLOS NAZARIO-        69924-0 1 8                RODRIGUEZ
LOPEZ
                                                  HECTOR ORTIZ-               68824-308
JUAN NEGRETE          26585-380                   TARAZON SR
JESUS NEGRON-ROSSY    433 17-069                  CHARLTON OSBOURNE           23630-055

JAMES NEKVASIL JR     043 1 7-027                 OGIESOBA OSULA              44879- 1 77

DEXTER NELSON          11964-042                  RUSSELL OTT                 46191-424

JONATHAN NELSON       34556- 177                  CRAIG OTTESON               54711-177

BENJAMIN NEWMAN       333 13-045                  DONALD OVERFIELD            14030-067

JOHN NEWTON           30965-044                   CRUZ OVIEDO                 16368-480

BRIAN NEWTON          60572-0 1 8                 GAIL OWENS                  55119-018

MANUEL NICASIO        833 16-380                  RACHEL PADGETT              20200-02 1

MATT NICKA            01952- 122                  LISA PAGE                   22267-026

DARYL NICKERSON       29444-057                   MICHAEL PAHUTSKI            12411-058

SHARLEEN NICKLE       327 1 7-064                 CYNDY PALMA                 6397 1 -380

SHERITA NICKS         85909-083                   MYRNA PARCON                49681-177

CHRISTOPHER NIETO     09256- 1 22                 THOMAS PARENTEAU            67736-061

ROBERT NIMOCKS        57045-039                   RONALD PARHAM               30548-076

MARK NIX              48352-074                   DARNELL PARKER              2208   1 -0 1 6


GARY NOLEN            09762-062                   WALIS PARRA-REYES           1 8260-02     1


GEORGE NOONAN         04248-036                   BABUBHAI PATEL              46049-039

RODRIGUEZ NORMAN      9 1 4 1 9-083               MANUELA PAVON               50607- 1 77

LARRY NORQUIST         179 1 7-273                SPENCER PAYNE               71685-066

KRISTIN NORRIS        22208-026                   JAMES PAYTON                03490-033

JOSE NUNEZ            43507-0 1 8                 ROSA PAZOS CINGARI          60903-01 8

ADRIAN NUNEZ          65615-280                   JUAN PECINA                 97459-020

QUEREN-HAPUC OCHOA-   75376-408                   CAROL PEDERSON              77852- 112
ROMERO
                                                  GEORGE PEN A                67821 -018
WILLIAM OGBONNA       93445-083
                                                  JULIO PENA                  30941 -379




                                      Page 15 of 24
   CASE 0:12-cr-00305-DSD-LIB         Doc. 619       Filed 12/13/24   Page 16 of 24



Name                    Reg. No.                 Name                        Reg. No.

KARON PEOPLES          63608-037                 RON PRUITT                  500 15-039

BERNARDO PEREZ         37097-086                 ROBERTO PULIDO              76825-004

LUZ PEREZ DEMARTINEZ   15968-049                 DAVID QUINTANA              15904-028

WILLIAM PERRY          26474-077                 VICENTE QUIROZ              9 1 208-308

ROBERT PERRY           09845-028                 RICHARD RACH III            14859-088

DAVID PERRY            30853-009                 CHAD RAGIN                  68352-004

JOSE PERU              50110- 177                SAIED RAMADAN               39093-083

DIONE PETITE           12611-003                 HENRY RANIER                17787-032

SEAN PETRIE            55543-039                 LILLIANE RAMIREZ            69571-112

HUNG PHAN              56613-177                 DAVID RAMIREZ               30333-279

RODNEY PHELPS          21576-032                 ROBERT RAMSEUR              53900- 1 77

JENNIFER PHILLIPS      83099-080                 EPHRAIM RAMSEY              08266-067

SHAWANNA      PHIPPS   33777-058                 GREGORY RAND                38641- 177

ONEIDA PICASSO         50205-177                 GEN A RANDOLPH              32288-171

NELSON PICHARD-REYES   6542 1-053                FLINT RATLIFF               16268-   17 1


CLAUDIA PIEDRA         4 1 545-479               DEBRA RATLIFF               17546-280

JUAN PIMENTEL          5 1 088-408               JOHNNY READER               17905-078

ERICK PINERO-ROBLES    5065 1-069                VENTERI A REASON            13067- 104

JOHN PIPKIN            64455-056                 TAMIR REAVES                76735-066

MATHIAS PIZANO         08586-030                 DENISE REDMAN               27330- 1 80

RICHARD PLATO          726 1 9-079               DARA REDMOND                17862-029

GREGORY PODLUCKY       30494-068                 JOSEPH REEDER-SHAW          56147-039

DUSTIN POE             34527-00 1                DAVID REESE                 52 139-066

JULIEN POLK            24638-11 1                FREDERICK REEVES            25040-009

RAUL PORRAS-ACOSTA     10229- 180                ZEN AIDO RENTERI A JR       69119-1 12

ROBERT PORTER          15875-075                 SARAH REYES                 05783-095

KEVIN PORTIE           17127-035                 MAYRA REYES                 57582- 1 77

ISHMI POWELL           69585-066                 CRYSTAL REYES               24740-280

CLISTY PRATT           55423 - 177               DILEAN REYES-RIVERA         39927-069

MELISSA PRESTON        1 1 892-480               MARQUIS REYNOLDS            67705-060

JOAN PRICE             20402-02 1                APRIL RICE                  18201 -026

JEREMIAH PRIDE JR      77002-06 1                GALLOWAY RICH III           71714-019

DEVANTE PRIOLEAU       32563-171                 RONALD RICHARD JR           0238 1-095

EARL PRITCHARD         3042 1-076                MICHAEL RICHARDSON          70991-019

HARRY PRITCHETT        42565-074                 ROGER RICHARDSON            08602-028




                                     Page 16 of 24
   CASE 0:12-cr-00305-DSD-LIB         Doc. 619       Filed 12/13/24   Page 17 of 24




Name                    Reg. No.                 Name                         Reg. No.

KIKO RICHMOND          85556-083                 JOSEPH ROHE JR              17004-003

JENNIFER RICHMOND      98686-379                 OMAR ROJAS                  57547-379

THOMAS RILEY           24 1 86-044               BARBARA ROJAS               14438- 104

JAMES RISHER           19358-018                 BLANCA ROJO                 27546-045

TOBIAS RITESMAN        1736 1-273                ANSWAR ROLLINS JR           07333-025

LUIS RIVAS             48463-004                 ROSA ROMAN                  27787- 1 80

PABLO RIVERA           05914- 122                JUAN ROMAN-POLANCO          75699-067

JULIO RIVERA           70625-097                 RICHARD ROSA                201 26-006

LUIS RIVERA-PARES      4967 1-069                FRANCISCO ROSALES           59027-280

MICHAEL RIVERS         82085-053                 HECTOR ROSARIO-             39556-069
                                                 RIVERA
GERALD ROBERSON        17546-02 1
                                                 EVELIO ROSARIO-             4976 1-069
ONEAL ROBERTS          64117-053                 ROSADO

DJAMIL ROBERTS         15965-028                 CHRISTOPHER ROSE            14090- 1 79

LENA ROBERTS           51332-074                 ROGER ROUSSEAU              03652- 104

ANTHONY ROBERTS        57884- 177                MICHAEL ROYAL               5 134 1 -074


QUINCY ROBERTS         1562 1-040                HENRY ROYER                25268-111

STEVEN ROBINSON        1 1916-087                DONACIANO                   783 1 6-380
                                                 RUBALCABA-MIJAREZ
MARIA ROBLES           44739-0 1 3
                                                 SHAWNA RUBY                 18777-030
RANDY ROCKHOLT         14025-027
                                                 MICHAEL RUDDELL             55997- 1 77
CYNTHIA RODRIGUEZ      28803-03 1
                                                 ANTHONIO RUEDA-             19862-111
JENNIFER RODRIGUEZ     15791-379                 AYALA

RAFAEL RODRIGUEZ       95341 -380                BRENDA RUEHLOW              17543-029

MARIO RODRIGUEZ        52813-180                 FERDINAND RUIZ              59030-066

STEPHANIE RODRIGUEZ    49750- 177                ANTONIO RUIZ               61 667-004

RUBEN RODRIGUEZ JR     20243-480                 MARIBEL RUIZ               26302-078

JOE RODRIGUEZ          10610- 179                WILLIAM RUNION              54 165-074

ALLAN RODRIGUEZ-       44365-069                 MEERA SACHDEVA              16240-043
CRISPIN                                          ISIAH SADLER                89404-053
CLARA RODRIGUEZ-       1 5866-032
                                                 JUSTIN SAIN                 53 137-074
IZNAGA
STEPHANIE RODRIGUEZ-   66055-408                 SUSAN SALANE               37270-034
VERDUGO
                                                 WILLIAM SALES SR            15035-056
BUFORD ROGERS          0 1 869-027
                                                 SANTOS SALINAS              58320-380
ALFONIZA   ROGERS      09823-003
                                                 SANTA SALINAS               71389-479
KENNETH ROGERS         18196- 104
                                                 SANTIAGO SALINAS            11962-018
JEREMIAH ROGERS        96309-020
                                                 GARTH SALKEY               86 17 1-083
JOHN ROGERS            21111-045




                                     Page 17 of 24
   CASE 0:12-cr-00305-DSD-LIB        Doc. 619       Filed 12/13/24   Page 18 of 24



Name                   Reg. No.                 Name                        Reg. No.

GREGORY SALLEE         19573-033                MANUEL SERRATA              19425- 179

&ANDON SALLIS         044 1 6-063               SUSANA SERRATO              16246-059

BARRON SALTER          14237-003                NEVIN SHAPIRO               61311-050

MICHAEL SAMANIEGO     35329- 177                KINZEY SHAW                 15956-059

ALLYSSA SAMM          31619-045                 ASHLEE SHAW                 00255- 120

JAIME SANCHEZ         06704- 1 04               RICHARD SHAW                56956-019

MAGGIE SANDERS        33230-058                 JOSEPH SHAYOTA              50260-298

PAUL SANDERSFELD       17512-273                MAQUEL SHELBY               20067-035

BERNARDO SANTANA      508 1 6-039               CURTIS SHELL                16837-043

JOHN SANTOS            70462-054                SCOTT SHELLEY               07 1 95-509

RAFAEL SANTOS         26932-050                 BROCK SHELLMAN              16958-027

BENITO SARABIA        64868-079                 JOSEPH SHERESHEVSKY         35857-054

DALTON SARGENT        2 1 769-026               SAFARA SHORTMAN             17 1 07-046

ARNULFO SAUCEDA        55692- 177               JONATHAN SHOUCAIR           21591-112

CARLTON SAYERS        26948-078                 KENNETH SHOULDERS           47293-424

MANUELE SCATA         96802-038                 ANTONIO SHUFFORD            19657-056

JOSEPH SCHABOW         19892-033                RICKY SHULL                 13572-025

DAVID SCHAFFER        46423-044                 CRISTIAN SIBERIO-           76037-066
                                                RIVERA
MICHAEL SCHLAGER      66734-066
                                                RACHEL SIDERS               68023-097
JAMES SCHNEIDER        16646- 1 04
                                                ERIC SIERRA                 59046-066
ANGLE SCHUEG           72344-067
                                                TIMOTHY SIMMONS             15682-002
PHILLIP SCOTT          31131-001
                                                EVONNE SIMMS                58983- 177
DARRYL SCOTT           62361 -037
                                                TEDDY SIMS                  07449- 1 04
RANDALL SCOTT          57796-019
                                                GEMAL SINGLETON             7 1 034-050
ZACHARY   SCRUGGS      16320-028
                                                CHERYL SINGLETON            69550-019
TIMOTHY SEABURY        11910-003
                                                DUANE SLADE                 36995-280
CLAY SEALS JR          52544-074
                                                JERIEL SLAY                 28305-055
JOANNE SEELEY          42801 - 177
                                                ROCKY SLOAN                 17722-029
RONNIE SEGER           14631-010
                                                RUDOLPH SMALL               64572-060
JOSE SEGOVI A          35342-080
                                                CORDNEY SMITH               1 1 899-030
GARY SELLERS           1 5994-028
                                                EUGENE SMITH III            54978-039
JAYMIE SELLERS         46028- 1 77
                                                PATRICK SMITH               63919-037
CESAR SEQUEN           67973-01 8
RODRIGUEZ                                       DUSTIN SMITH                35801 -001

RALPH SERGO            15541- 104               KEVIN SMITH                 30323-076

JUAN SERRANO-NIEVES    50078-069                CHRISTINA SMITH             709   1 8-0   19




                                    Page 18 of 24
   CASE 0:12-cr-00305-DSD-LIB          Doc. 619       Filed 12/13/24   Page 19 of 24



Name                    Reg. No.                  Name                         Reg. No.

JOHN SMITH              08708-028                 PAMELA TABATT               4 1 795-044

WILLIE SMITH III        97911-020                 TERRY TAKINIOTO             55462-048

PATRICIA SMITH SLEDGE   63764-112                 TERRENCE TALIFERRO          11362-026

JAMES SNOWDEN III       24803- 171                SALVADOR TAM AYO JR         69589-280

BELKIS SOCA-            67590-01 8                AYLWIN TAN                  99187-198
FERNANDEZ
                                                  EVERETT TARR                11305-028
ABDEL SOLIMAN           67808-053
                                                  STEVEN TAYLOR               26276-086
KENNETH SOLOM AN SR     61113-018
                                                  BARRY TAYLOR                32452-058
CURTIS SOMOZA           43619- 112
                                                  QUINCY TAYLOR               63093-037
EGLAEL SOTO             276 1 5-078
                                                  OMAR TEAGLE                 60508-066
SUHEIDY SOTO-           72848-067
CONCEPC ION                                       KEELEON TENNARD             73012-279

ADRIANO SOTOVIAYOR      193 1 2-050               BRADLEY THAYER              16800-273

MARK SPANGLER           42280-086                 AMBER THIELE                40256-044

JASMINE SPENCE          54863-177                 JACKIE THIELEN              18774-030

STEVEN SPENCER          23545 -055                MICHAEL THOMAS              1743 1-027

KELLY SPINKS            15730-028                 CRYSTAL THOMAS              27832-078
REBECCA SPINLER         19680-023
                                                  LEROY THOMAS                15993-028
COLIN SPOTTED ELK       10049-273
                                                  JAYCIE THOMAS               20827-043
DEON STEAVE             33806-068
                                                  DAMIEN THOMAS               58328-037
ERICA STEFFENS          49497-048
                                                  DEBORAH THOMAS              20033 - 104
SHANE STEIGER           32746- 177
                                                  TARA THOMASON               33906- 171
SHAWNELL STENGEL        29509-03 1
                                                  DANNY THOMPSON              25582-076
EVERT STEPHEN           03 103- 104
                                                  THERON THOMPSON             5 108 1-056

MATT STEWART            4201 8-039
                                                  DONALD THOMPSON             25611-509
JAMES STEWART-          49767-069
                                                  WILLIAM THOMPSON            66065-056
CARRASQUILLO
CYNTHIA STIGER          44137- 177                QUENTIN THOMPSON            26 134-044

DAVID STOCKS            70935-01 9                GREGORY THOMPSON            2 1 460-043


CLINTON STOWERS         70075-0   ]9              DEVON THOMPSON              64549-037

SHALIEK STROMAN         72372-067                 SHAHEED THOMPSON            83286-004

KENYA STRONG            69530-0 1 8               DIANE THOMSEN               17293-273

RODERICK STRONG         14725- 171                MURRAY TODD                 66088-056

MICHAEL SUBLETT         15853-028                 STEVEN TOMERSHEA            10489-084

MARCUS SULLIVAN         18239-026                 DAVID TONEY                 69707-066

DUSTIN SULLIVAN         17459-030                 TONYA TOPEL                 32708-045

CHRISTOPHER SWARTZ      24404-052                 ROBERT TORRES               64789-056




                                      Page 19 of 24
   CASE 0:12-cr-00305-DSD-LIB        Doc. 619       Filed 12/13/24   Page 20 of 24



Name                   Reg. No.                 Name                         Reg. No.

PATRICIA TORRES       83827-380                 THOMAS                      093 10- 122
                                                VASCONCELLOS
OLGA TORRES-SOREANO   60 120- 1 80
                                                JUSTIN VASEY                18208-030
CARLTON TOWNS         51382-039
                                                JESUS VAZQUEZ               14275-018
ERIC TOWNSEND         00875- 120
                                                ALFONZ VEI                  16191 -049
MILLICENT TRAYLOR     54745-039
                                                SANTIAGO VELIZ              50003- 1 77
RANDALL TREADWELL     94385-198
                                                FRANK VENNES JR             05 123-059
RAMI RO TREVIZO-      42020-05 ]
GRAN IL LO                                      DAVID VIGIL                 75930-097

DALTON TRU AX          15179-010                FRANK VILLA                 067 17- 1 96

JAVIER TRUJILLO       80563-298                 KEITH VINSON                27369-058

MICHELLE TRUONG       69235-097                 JASON VOTROBEK              62966-0 1 9

EMMITT TUCKER          19752-085                JOHN WAKEFIELD              15428-002

ANDREW TUCKER-         1 6605-029               SALVADOR WALKER             675 1 5-098
MORENO
                                                TIFFANY WALLACE             26333-075
CRYSTAL TUNNING       96989-004
                                                NANCY WARD                  23259-077
ANGELICA TUPPER        154 1 7-033
                                                JAMES WARD                  54604-074
JAMES TUREK            148 1 0-032
                                                LAUREN WARD                 00802- 1 20
TORRENCE TURNER       2658 1 -009
                                                JAZZM AN WARREN             19736-033
JAMES TURNER           141 54-002
                                                LEE WATKINS                 19768-035
TIMOTHY TYSON JR      88269-020
                                                CLARENCE WATSON JR          19125-033
CARRIE TYSON           12126-056
                                                JAY WATSON                  46768- 1 77
MICHAEL URBAN         55560- 177
                                                EDWIN WATSON                37363-034
BALNIORE URBANO       47582-424
                                                TERESA WATSON               3 198 1-064
KAVEH VAHEDI          62844- 112
                                                ROBERT WATSON              12912-ZIg
MOSES VALDEZ          3 1 389-064
                                                KURT WAYNE                  39857- 177
ERIC VALDEZ           3 1390-064
                                                GREGORY WEBB                47 129-424
SIGIFREDO VALDEZ      3 1392-064
                                                BOBBY WELLS                 49355-048
GABRIELLA VALDEZ      30064-047
                                                PERRY WELLS                 86769-054
JOSE VALDEZ           90547-380
                                                DAVID WELLS                 53664-074
JESSICA VAN DYKE       50378-044
                                                MICHAEL WELLS               2662 1 -044
CHARLES VAN ATTA       12652-028
                                                KIM WESLEY                  88707-020
WILLIAM VANATTI        1751 1-029
                                                DENNIS WESTBROOK            21 560-045
CRYSTAL VARA           89830-380
                                                JOHNNY WHITE                45312-177
ALAN VARGAS-           75863-408
GALLEGOS                                        AUNDRAY WHITE               76026-054
GOODWIN VARGAS-       46602-069                 CANDACE WHITE               91235-083
GONZALEZ
                                                TIMOTHY WHITE               19254-097




                                    Page 20 of 24
   CASE 0:12-cr-00305-DSD-LIB        Doc. 619       Filed 12/13/24   Page 21 of 24



Name                    Reg. No.                Name                         Reg. No.

DEMOND WHITE           46461 -074               FREDRICK WILLIAMS           21 106-017

LAWRENCE WHITE II      33927-057                SHAWN WILLIAMS              59172-0 1 8

TRAVIS WHITE           73 1 71-279              AALIYAH WILLIAMSON          2056 1 -043

CHARLES WHITE          40355-424                KNOGS WILLS                 2774 1 -078

TONY WHITE EVERETTE    654 17-056               ALDEN WILSON                16326-046

DARIUS WILLIAM         27904-078                JOHN WILSON                 57046-0 18

REBECCA WILLIAMS       21580-084                RICHARD WIMBLEY             3 15 15-074

DAVID WILLIAMS         56324- 1 77              PEDRO WIPP-KELLEY           44289-069

ROBIN WILLIAMS         59010- 177               CHRISTOPHER WOOD            18155-040

TRACY WILLIAMS         69527-01 8               ERIN WOODS                  2070 1 -043

JERMAINE WILLIAMS      35374-068                MARSHANE WOODS              20398-074

DAVID WILLIAMS         43076-039                RASHAD WOODSIDE             0 1 607- 1 04


CIARA WILLIAMS         27560-078                AMBER WORRELL               84297-408

CHRISTOPHER WILLIAMS   5 1 600-074              PEGGY WORTHINGTON           1 8407-030


LAMONT WILLIAMS        48343-066                CHARLES WYATT               3496   1 -00 1


LAVELL WILLIAMS        08665-030                CHRISTOPHER YEAGLEY         85 126-054

GARY WILLIAMS          21195-032                JEFFREY YOHAI               75866-1 12

STEVEN WILLIAMS        91 120-054               SHALEI YOUNG                19535-023

BETTYE WILLIAMS        92623-083                JOSHUA YOUNG                16029-059

DEREK WILLIAMS         35289-054                LISA YRDANOFF               56282- 1 77

HERMAN WILLIAMS        09877-02 1               JOSE ZAVALA                 07151-017

ANTHONY WILLIAMS       71167-019                CALVIN ZEIGLER              19490-052

OCTAVIUS WILLIAMS      49841 - 177              MIKHAIL ZEMLYANSKY          66544-054

DION WILLIAMS          80352-083                EDWARD ZINNER               48591 -066

JOSEPH WILLIAMS        0 1947-017               PERLA ZUNIGA                28 160-379

AARON WILLIAMS         40727-424                ENRIQUE ZUNIGA              179 10-030

DONNA WILLIAMS         14756-0 10

EARL WILLIAMS JR       1 1386-089


JDONTA WILLIAMS        24459-009




                                    Page 21 of 24
      CASE 0:12-cr-00305-DSD-LIB                Doc. 619      Filed 12/13/24   Page 22 of 24



       I HEREBY FURTHER COMMUTE the total sentence of confinement that each of the

following named persons is now serving, to expire on April 11, 2025, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all of its
conditions and all other components of each respective sentence. Nothing in this grant of
clemency should be presumed to interfere with, or supersede, the Bureau of Prisons' authority to

oversee each person’s confinement, pursuant to the terms set forth in this grant of clemency.

Each person shall remain subject to all ordinary disciplinary rules. The following persons are
recipients of this grant of clemency:

  Name                            Reg. No.                 Name                        Reg. No.
  JAIME AIRD                     57707-004                 CHARLES GOFF JR            42572-061

  ANA ALVAREZ                    8 1092-004                FRANCISCO GONZALES         47204- 177

  EDUARDO ALVAREZ-               15733-112                 JOSEPHINE GRAY             37156-037
  NIARQUEZ
                                                           ROGELIO GUERRERO           9537 1 -079
  SUSAN ANDERSON                 0935 1-02 1
                                                           TAMRAL GUZM AN             435 12-074
  DIMITRY ARONSHTEIN             64428-054
                                                           JOSE GUZMAN JR             09575-032
  GREGORY BARTKO                 61509-0 1 9
                                                           LAWRENCE HABERMAN          36897- 1 77
  SHANE BEGLEY                   16165-032
                                                           JUDY HARMON                17940-042
  TASHA BLACKBURN                1 04 1 7-003

                                                           WENDY HECHTMAN             30350-047
  TIMOTHY BRADLEY                43080-074
                                                           TANIEE HENEGAR             422 1 7-074
  TRAVIS BROUGHTON               40626-509
                                                           CHRISTY HINES              45933-074
  FRANKLIN BROWN                 406 1 2-424
                                                           MARK HUNT                  47879- 177
  MILTON CARBE                   66325-079
  JUAN CARRASCO                  38885-177                 REBECCA JACKSON            35684- 177

  TERRENCE CARTER                40030-424                 BILLY JEFFERSON JR         83653-083

  PAUL CASS                      26342-00 1                SHAFT JONES                04688-027

  RUBEN CASTANEDA                83640-079                 CHRISTOPHER JOSEPH         33 190-034

 NICOLE CLARK                    83942-083                 BENNY JUDAH                38878-177

 JUAN CRUZ                       30864- 1 77               KAREN KALLEN-ZURY          00857- 104

  ANTHONY DESALVO                5 1480-074
                                                           JAMES KING                 3949 1-039

  MICHAEL DIFALCO                58132-018                 LONNIE LANDON              1966 1-078

 JAMES DIMORA                    56275-060                 WON LEE                    73411-004

  EDWIN DISLA                    31120-069                 JOSEPH LESE                50658-0 18

  KRISTINA ERICKSON              12929-059                 KEITH LEWIS                22457-055

 JEROME FLETCHER                 87729-020                 SAMUEL LLOYD               62640-0 19

 JUAN FLORES                     20402-052                 ERNEST LOPEZ               80125-280

  RICHARD GALIMBERTI             68520-054                 ANDREW MACKEY              72284-053

 GERRICK GAMBRELL                50140-037                 VICTOR MARIN               2855 1-034




                                              Page 22 of 24
   CASE 0:12-cr-00305-DSD-LIB        Doc. 619     Filed 12/13/24   Page 23 of 24



Name                   Reg. No.                 Name                       Reg. No.

HOMERO MARTINEZ        45120- 177               ERNEST SINGLETON          1605 1-032

STEPHANIE MCCLUNG      1539 1 -088              RICARDO SMITH             07005-032

GARY MCDUFF            59934-079                WALTER SORRELLS           25229-045

THOMAS MCGLON          38887-0 19               JO ANN SPECK-EDGNION      4884   1- 177


RORY MEEKS             06 1 38-029              JERMAINE SPEED            19676-026

VICTOR MENDOZA         14194- 180               DEMETRIUS   SPENCE        55200-056

FRANCISCO MENDOZA      48863- 1 80              JOAQUIN SUAREZ-           47620- 112
                                                FLORES
THOMAS NIOOTY          69022-066
                                                BARRY SULLIVAN            104 1 8-003
DORA MOREIRA           03240- 1 04
                                                JOSEPH SWAFFORD           41045-074
DAVID MORROW           21500-076
                                                LARRY TALLENT             41538-074
BRYAN NOEL             23585-058
                                                FLAVIO TAM EZ             14812-379
CLIFFORD NOEL          34605- 183
                                                DUJU AN THOMAS            82036-083
CASEY PAINTER          33886- 177
                                                CHADWICK THOMPSON         07787-078
REBECCA PARRETT        85489-008
                                                JOSE TOBIAS               7704 1-279
JULIUS PINKSTON        42008-0 19
                                                GUMARO TORRES-LEON        34322-0 1 3
LEITSCHA               279 16-055
PONCEDELEON                                     RAFAEL UBIETA             00725- 104

MARTIN PUENTES JR      24131 -077               VIDALE WALKER             20849-076

SONNY RAMDEO           80568-053                RONALD WALSTRONI          01784-029

MICHAEL RIOLO          73455-004                DONNELL WALTERS           16469-078

RALPH ROMERO           07528-027                KENNETH WASHINGTON        090 1 6-035

SPECK ROSS             19973-077                DANIEL WATLINGTON         24928-056

BRIAN ROWE             63555-054                STEPHON WILLIAMS          97072-020

MICHAEL RYERSON        32587-074                RONNIE WILSON             24023- 171

JOE SANDOVAL           49735- 177

FRANCESK SHKAMBI       46728-039




                                  Page 23 of 24
      CASE 0:12-cr-00305-DSD-LIB              Doc. 619      Filed 12/13/24    Page 24 of 24




       I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as

evidence of my action in order to carry into effect the terms of these grants of clemency, and to

deliver a certified copy of the signed warrant to each person to whom I have granted clemency as
evidence of my action.


       IN TESTIMONY        WHEREOF         I have hereunto signed my name and caused the seal of

the Department of Justice to be affixed.


                                                  Done at the City of Washington this 12th day of
                                                  December in the year of our Lord Two
                                                  Thousand and Twenty-Four and of the
                                                  Independence of the United States the
                                                  Tu'o Hundred and Forty-Ninth.




                                                  JOSEPH R. BIDEN JR
                                                      President




                                            Page 24 of 24
